

Matter of Salvatore Y. (Chandel Y.) (2025 NY Slip Op 02496)





Matter of Salvatore Y. (Chandel Y.)


2025 NY Slip Op 02496


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., MONTOUR, OGDEN, GREENWOOD, AND KEANE, JJ.


305 CAF 23-01102

[*1]IN THE MATTER OF SALVATORE Y. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; CHANDEL Y., RESPONDENT-APPELLANT. (APPEAL NO. 1.) 






CHARLES J. GREENBERG, AMHERST, FOR RESPONDENT-APPELLANT.
SAM FADUSKI, BUFFALO, FOR PETITIONER-RESPONDENT.
JENNIFER M. LORENZ, ORCHARD PARK, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered June 6, 2023, in a proceeding pursuant to Social Services Law § 384-b. The order, among other things, revoked a suspended judgment and terminated the parental rights of respondent with respect to the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Memorandum: In this proceeding pursuant to Social Services Law § 384-b, respondent mother appeals from two orders by which Family Court revoked a suspended judgment entered upon her admission that she had permanently neglected the two subject children and terminated her parental rights with respect to those children. In both appeal No. 1 and appeal No. 2, we affirm. We conclude in each appeal that there is a sound and substantial basis in the record to support the court's determination that the mother failed to comply with the terms of the suspended judgment and that the interests of each child are best served by terminating the mother's parental rights (see Matter of Carter B. [Heather B.], 219 AD3d 1700, 1701 [4th Dept 2023], lv denied 41 NY3d 901 [2024]; Matter of Terry L.G., 6 AD3d 1144, 1145 [4th Dept 2004]).
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








